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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



RACHEL LEE PADGETT,

      Petitioner,

v.                                                        4:20cv509–WS/MAF

ERICA STRONG, Warden,

      Respondent.



            ORDER DISMISSING PETITIONER'S § 2241 PETITION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 20) docketed February 16, 2021. The magistrate judge recommends that the

petitioner's § 2241 petition for writ of habeas corpus be dismissed as moot. The

petitioner has filed no objections to the report and recommendation.

      Having reviewed the matter, this court has determined that the report and

recommendation should be adopted.

      Accordingly, it is ORDERED:

      1. The magistrate judge’s report and recommendation (ECF No. 20) is

ADOPTED and incorporated by reference into this order of the court.
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      2. The petitioner's petition for writ of habeas corpus (ECF No. 1) is

DISMISSED as moot.

      3. The clerk is directed to enter judgment stating: “The petitioner's petition

for writ of habeas corpus is dismissed.”

      DONE AND ORDERED this             23rd    day of     March     , 2021.




                                s/ William Stafford
                                WILLIAM STAFFORD
                                SENIOR UNITED STATES DISTRICT JUDGE
